        Case 1:06-cr-00059-AWI Document 590 Filed 07/06/10 Page 1 of 2


                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Anthony W. Ishii
Chief United States District Judge
Fresno, California

                                         RE:   ANGULO, Trinidad
                                               Docket Number: 1:06CR00059-04 AWI
                                               PERMISSION TO TRAVEL
                                               OUTSIDE THE COUNTRY

Your Honor:


The releasee is requesting permission to travel to Sonora, Mexico. He is current with all
supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On December 17, 2007, Trinidad Angulo was
sentenced for the offense of Conspiracy to Distribute and to Posses With the Intent to
Distribute Cocaine.


Sentence imposed: The releasee was sentenced to 51 months Bureau of Prisons, 36
months supervised release, $100 special assessment fee, and mandatory drug testing.


Dates and Mode of Travel: The releasee will be traveling by vehicle, and his dates of
travel are July 15, 2010, to July 29, 2010


Purpose: The releasee and his family would like to visit family members in Mexico.




                                                                                                          R ev. 05/2006
                                           1            T R A V E L ~ O U T S ID E C O U N T R Y C O U R T M E M O .M R G
         Case 1:06-cr-00059-AWI Document 590 Filed 07/06/10 Page 2 of 2


RE:   ANGULO, Trinidad
      Docket Number: 1:06CR00059-04 AWI
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                                  Respectfully Submitted,

                                  /s/ Marlene K. DeOrian

                               MARLENE K. DEORIAN
                        Senior United States Probation Officer

DATED:       June 30, 2010
             Fresno, California
             mkd


REVIEWED BY:       /s/ Hubert J. Alvarez
                   HUBERT J. ALVAREZ
                   Supervising United States Probation Officer



ORDER OF THE COURT:

Approved            X                           Disapproved


IT IS SO ORDERED.

Dated:         July 3, 2010
0m8i78                              CHIEF UNITED STATES DISTRICT JUDGE




                                                                                                             R ev. 05/2006
                                            2              T R A V E L ~ O U T S ID E C O U N T R Y C O U R T M E M O .M R G
